Case 4:18-mj-00039-VTW Document 1 Filed 05/11/18 Page 1 of 6 PageID #: 1




                                                                   FILED
                                                             2:15 pm, May 11, 2018
                                                             U.S. DISTRICT COURT
                                                         SOUTHERN DISTRICT OF INDIANA
                                                               Laura A. Briggs, Clerk

                                                    39-VTW
    Case 4:18-mj-00039-VTW Document 1 Filed 05/11/18 Page 2 of 6 PageID #: 2



                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA

                      AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Adam M. Vail [“AFFIANT”], being duly sworn according to law, depose and state as follows:

       1. I am and have been employed as a Special Agent with the Federal Bureau of Investigation

           [“FBI”] since October of 2014. I spent 21 weeks training to be a Special Agent (SA) at the

           FBI Academy in Quantico, Virginia beginning on October 19, 2014. Through the FBI, I

           have received extensive training related to the investigation of federal crime to include

           commercial robberies, bank robberies, violent crimes, and firearms investigations. I am

           currently assigned to the FBI Violent Crimes Task Force [“VCTF”] in the Indianapolis Field

           Office of the FBI. In this assignment, I investigate all manner of violent crime, to include

           bank robberies.

       2. This affidavit is submitted in support of a criminal Complaint against Rosa Zinser [“Rosa”],

           date of birth [DOB] 3/5/1960, on the grounds she committed a violation of Title 18, United

           States Code, Sections 1951(a) (Hobbs Act Robbery) and 924(c) (Brandishing a Firearm

           During and in Relation To a Crime of Violence).

       3. Title 18, United States Code, Section 1951(a) makes it illegal to obstruct, delay, or affect

           commerce or the movement of any article or commodity in commerce, by robbery or

           extortion or attempt as defined in Title 18, United States Code, Section 1951.

       4. In connection with my official duties, I have obtained the following information through my

           investigation, from other FBI Agents, FBI Task Force Officers [“TFOs”] assigned to the

           Indianapolis VCTF; detectives and patrol officers of the Indianapolis Metropolitan Police

           Department [“IMPD”]; members of the Ripley Count Sheriff's Office (sometimes collectively

           referred to as “investigators”); and witnesses. I have not included each and every fact that

           has been revealed through the course of this investigation, but have rather set forth only the

           facts in support of a finding of probable cause of the aforementioned crimes.


                                                    1 
 
    Case 4:18-mj-00039-VTW Document 1 Filed 05/11/18 Page 3 of 6 PageID #: 3



       5. In connection with my official duties, I have participated in the investigation of the robbery

           of the George's Pharmacy Sunman, located at 308 North Meridian Street, Sunman, Indiana.

                                         George's Pharmacy Sunman
                                  308 North Meridian Street, Sunman, Indiana

       6. On May 2, 2018, at approximately 11:42 AM, a female entered the George's Pharmacy

           Sunman, located at 308 North Meridian Street, Sunman, Indiana, proceeded up to the counter

           and demanded drugs. At the time of the demand, the female held a black revolver.

       7. Fearing for their safety, employees provided the robber with the drugs she demanded. The

           robber then left the pharmacy

       8. Immediately after the robbery, a pharmacy employee (hereinafter referred to as "the victim

           employee"), called 911. The victim employee told the 911 call center that she knew the

           robber to be Rosa Zinser ["Rosa"]. The victim described Rosa as having short gray hair and

           wearing glasses and a red shirt.

       9. The victim employee stated that after the robbery, Rosa entered a silver or gray Kia and left

           the area of the robbery.

       10. Ripley County Sherriff Deputies as well as Indiana State Troopers traveled to an address

           where Rosa was believed to reside, 26221 Stock Lane, Sunman, Indiana. Parked in an open

           garage at the residence was a gray Kia Soul bearing Indiana license plate 669LTU. This

           vehicle is registered to Martin Zinser ["Martin"] and Rosa Zinser of 26221 Stock Lane,

           Sunman, Indiana.

       11. As investigators approached the residence, they encountered a male and female standing in

           the garage of the residence. The male was identified as Martin Zinser, DOB 9/11/1949. The

           female was identified as Rosa Zinser, DOB 3/5/1960. As investigators approached, Martin

           held a plastic bag in his hand containing numerous pill bottles and Rosa held a black and

           white purse. The two individuals were detained. Investigators subsequently located a black




                                                    2 
 
    Case 4:18-mj-00039-VTW Document 1 Filed 05/11/18 Page 4 of 6 PageID #: 4



           revolver in the purse. The revolver was determined to be a Heritage Rough Rider .22 caliber

           revolver, Serial Number F44064, and loaded with six rounds of ammunition.

                                   Search of Kia, Indiana License Plate 669LTU

       12. Immediately after encountering Rosa and Martin, Rosa stated to investigators that Martin did

           not know what she had done and was not involved.

       13. Investigators then advised Rosa of her Miranda rights and she waived her rights and

           continued to make statements. Rosa also consented to a search of the Kia Soul. Both Rosa

           and Martin signed a Consent to Search form, and the Kia Soul was searched.

       14. In the Kia Soul investigators located numerous loose pills on the floor. All of the pills, pill

           bottles, and the firearm were photographed and collected as evidence.

                                              Interview of Rosa Zinser
                                                    May 2, 2018

       15. Rosa was transported to the Ripley County Sheriff's Office and interviewed. Investigators

           verified with Rosa that she had been advised of her Miranda Rights. She stated she had and

           that she was willing to talk to investigators.

       16. Rosa stated that she had gone to two different emergency rooms attempting to obtain

           medication. When she was unsuccessful, she took Martin's revolver without his knowledge

           and went to George's Pharmacy located in Sunman, Indiana. Rosa proceeded up to the

           pharmacy counter and told the pharmacist the drugs she wanted. When the pharmacist told

           her that her doctor had not called them in, she removed the gun from her purse and pointed it

           at him. The pharmacist then retrieved the drugs Rosa requested. Rosa then left the

           pharmacy, entered her vehicle, and drove home.

       17. Rosa stated she knew that her husband kept the gun loaded, but she kept her finger off the

           trigger at all times.




                                                     3 
 
    Case 4:18-mj-00039-VTW Document 1 Filed 05/11/18 Page 5 of 6 PageID #: 5



       18. Rosa then admitted that she had consumed some of the prescription medication following the

           robbery, prior to the time investigators encountered her. Rosa was then transported to

           Margaret Mary Hospital for treatment.



                                             Interview of Rosa Zinser
                                                   May 3, 2018


       19. On May 3, 2018, Rosa was discharged from Margaret Mary Hospital and transported to the

           Ripley County Jail.

       20. Rosa was advised of her Miranda Rights, and again chose to waive her rights and speak to

           investigators.

       21. Rosa again stated that she had committed the robbery the previous day. Rosa described in

           additional detail that she took Martin's firearm when she knew he was busy working, drove to

           George's Pharmacy, and walked in and told them the medication she wanted - Oxycontin,

           Percocet, and Xanax.

       22. The pharmacist tried to look her prescription up in the computer. When the pharmacist stated

           that her doctor had not called the prescriptions in, Rosa pulled the gun out of her purse and

           committed the robbery.

       23. During the commission of the robbery, Rosa realized there were other employees behind the

           counter and one of them had called the police.

       24. When Rosa arrived home, Martin came outside and asked her where she had gone. She told

           him she went to George's Pharmacy, and held up the bag of pills she obtained in the robbery.

           Martin took the bag away from her. As Martin and Rosa stood in the garage, police officers

           approached Martin and Rosa with their weapons drawn and Rosa was taken into custody.

       25. Based on the above information, the Affiant has probable cause to believe that Zinser violated

           Title 18, United States Code, Sections 1951(a) and 924(c).



                                                    4 
 
Case 4:18-mj-00039-VTW Document 1 Filed 05/11/18 Page 6 of 6 PageID #: 6




    Subscribed and sworn by telephone or other reliable electronic means before me this 11th day of May, 2018.
